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     IT IS ORDERED as set forth below:



     Date: March 1, 2018

                                                                    _____________________________________
                                                                               Lisa Ritchey Craig
                                                                          U.S. Bankruptcy Court Judge

    _______________________________________________________________



                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                         )
                                               )      CHAPTER 13
                                               )
MILLARD COURTNEY FARMER, JR.,                  )
                                               )      Case No. 18-52363-a998
         Debtor.                               )

                           ORDER EXTENDING TIME TO FILE
      STATEMENT OF FINANCIAL AFFAIRS, SCHEDULES, SUMMARY OF ASSETS AND
        LIABILITIES, CHAPTER 13 STATEMENT OF INCOME AND CHAPTER 13 PLAN

         The above-captioned bankruptcy case is before the Court for consideration of the

“Application for Extension of Time to File Statement of Financial Affairs, Schedules, Summary of

Assets and Liabilities, Chapter 13 Statement of Income and Chapter 13 Plan” (“Application”)

(Doc. No. 13) filed by Millard Courtney Farmer, Jr. (“Applicant”) on February 23, 2018. In the

Application, Applicant requested entry of an order extending the deadline for filing his

Schedules1 and Plan through and including March 9, 2018.




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    Capitalized terms not otherwise defined shall have the meanings set forth in the Motion.
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       After reviewing the Application and the representations contained therein, it appears that

extending the deadline for Applicant to file the Schedules and Plan will not have an adverse

impact on creditors or case administration. Accordingly, it is hereby

       ORDERED that the Application is GRANTED. It is further ORDERED that the deadline

for Debtor to file his Schedules is hereby extended through and including March 9, 2018.

                                       End of Document

Prepared by:
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